        Case 4:22-cv-00325-RH-MAF Document 266 Filed 01/31/24 Page 1 of 9
                                                                                    Page 1 of 9




              IN THE UNITED STATES DISTRICT COURT FOR THE
                     NORTHERN DISTRICT OF FLORIDA
                         TALLAHASSEE DIVISION


AUGUST DEKKER et al.,

                  Plaintiffs,

v.                                              CASE NO. 4:22cv325-RH-MAF

JASON WEIDA et al.,

          Defendants.
_____________________________________/


                            ORDER DENYING THE MOTION
                            TO ENFORCE THE JUDGMENT


         After a bench trial, the four plaintiffs obtained a judgment against the

defendant Jason Weida, in his official capacity as Secretary of the Florida Agency

for Health Care Administration (“AHCA”), and against AHCA itself. The

judgment had two parts. The first was a declaration that Florida Statutes

§ 286.31(2) and Florida Administrative Code rule 59G-1.050(7) are invalid to the

extent they categorically ban Medicaid payment for puberty blockers and cross-sex

hormones for the treatment of gender dysphoria. The second part was an injunction

explicitly running in favor of the four plaintiffs, nobody else, requiring the

defendants to cover their treatment. This was not a class action.




Case No. 4:22cv325-RH-MAF
        Case 4:22-cv-00325-RH-MAF Document 266 Filed 01/31/24 Page 2 of 9
                                                                                      Page 2 of 9




         The defendants have appealed, and the appeal is pending. The defendants

have not moved for a stay pending appeal.

         The plaintiffs have filed in this court a motion to enforce or clarify the

judgment. The plaintiffs acknowledge that the defendants have complied with the

injunction requiring Medicaid payment for the plaintiffs’ treatment. But the

plaintiffs say the defendants have continued to apply the categorical ban on

payment for puberty blockers or cross-sex hormones for other transgender patients.

The plaintiffs say this contravenes the declaratory judgment.

         In response, the defendants apparently acknowledge that they must comply

with the declaration while it remains in force, even for patients who are not parties

to this case. This accords with the law of the circuit. In Garrido v. Dudek, 731 F.3d

1152 (11th Cir. 2013), the court addressed the proper scope of a judgment like this

one. There, as here, a district court held invalid an AHCA rule categorically

excluding Medicaid coverage for a specific type of treatment. The treatment was

applied behavioral analysis or “ABA” for individuals under age 21 with autism

spectrum disorder.

         The district court entered a declaratory judgment and permanent injunction

that, by their terms, ran in favor of not just the plaintiffs but also all other

Medicaid-eligible patients in Florida under age 21 diagnosed with autism spectrum

disorder.



Case No. 4:22cv325-RH-MAF
        Case 4:22-cv-00325-RH-MAF Document 266 Filed 01/31/24 Page 3 of 9
                                                                                   Page 3 of 9




         The Eleventh Circuit upheld the declaration with one exception. The court

remanded for addition of this language: “This declaration does not eliminate the

Defendant’s authority to make individual medical necessity determinations, in

accordance with governing law and regulations.” Id. at 1161. This left no room for

the defendant—the Secretary of AHCA—to exclude coverage based on the

categorical exclusion of ABA treatment. Going forward, AHCA could deny ABA

coverage based only on an individualized assessment of a specific patient’s

circumstances, not based on the invalidated view that ABA treatment was never

medically necessary.

         Similarly, the Eleventh Circuit said that “the district court did not abuse its

discretion in issuing a permanent injunction that overrules AHCA’s determination

that ABA is experimental (and AHCA’s larger determination that ABA is never

medically necessary).” Id. at 1160 (emphasis in original). But the injunction as

entered by the district court required AHCA to provide Medicaid coverage for

ABA treatment not just to the plaintiffs but also “to all Medicaid-eligible persons

under the age of 21 in Florida who have been diagnosed with autism or Autism

Spectrum Disorder, as prescribed by a physician or other licensed practitioner.” Id.

at 1160 n.2. Because the necessity of treatment for individuals other than the

plaintiffs themselves had not been established, the Eleventh Circuit remanded with




Case No. 4:22cv325-RH-MAF
        Case 4:22-cv-00325-RH-MAF Document 266 Filed 01/31/24 Page 4 of 9
                                                                                 Page 4 of 9




instructions to strike from the injunction the requirement to provide coverage for

others. Id. at 1160 & nn. 3 & 4.

         In the case at bar, the declaration and injunction do not include language like

that disapproved in Garrido. Here, as under the Eleventh Circuit’s language in

Garrido, the declaration does not eliminate the defendants’ authority to make

individual medical necessity determinations. Similarly, here, as under the Eleventh

Circuit’s language in Garrido, the injunction requires coverage for the plaintiffs,

for whom this record establishes medical necessity, but not for others, for whom

AHCA remains free to evaluate medical necessity based on the patient’s individual

circumstances.

         Here, as in Garrido, the defendants are not free to ignore the declaratory

judgment. They are not free to continue to deny coverage based on the invalidated

categorical ban.

         The defendants apparently acknowledge that they are continuing to deny

every application for payment for these services and to do so solely because it is an

application for these services—to deny every application without any assessment

of individual circumstances. The defendants say this approach is not “categorical”

because, they say, an applicant can seek a waiver under Florida Statutes § 120.542.

That statute applies to “uniformly applicable” provisions of rules and requires a

waiver when (1) the purpose of the underlying statute “will be or has been



Case No. 4:22cv325-RH-MAF
        Case 4:22-cv-00325-RH-MAF Document 266 Filed 01/31/24 Page 5 of 9
                                                                                     Page 5 of 9




achieved by other means” and (2) application of the rule would create a substantial

hardship or violate principles of fairness. Id. § 120.542(2). The defendants have

not suggested what “other means” have been or will be used to satisfy the purposes

of either the Medicaid statute, whose purpose is to provide medical care to covered

patients, or the invalidated Florida ban on payment for transgender care, whose

purpose was to discriminate against transgender patients or, even on the

defendants’ view, to deny payment for care of this kind. The record does not

suggest that transgender patients are obtaining other kinds of equally effective care

or that they are obtaining puberty blockers or cross-sex hormones without having

to pay.

         The waiver statute requires an agency to give notice of its provisions to

anyone who inquires about relief from a covered rule. Id. § 120.542(4). The record

does not show AHCA has given notice or that anyone has inquired.

         The record indicates AHCA has fined health plans for paying for puberty

blockers or cross-sex hormones for transgender Medicaid patients. The letters

imposing the fines assert the services are never covered. In a footnote, the letters

acknowledge the injunction in this case and say it applies only to the four

plaintiffs, so that health plans can pay for the care for the four plaintiffs. But

misleadingly, the letters omit any mention of the declaratory judgment or the




Case No. 4:22cv325-RH-MAF
        Case 4:22-cv-00325-RH-MAF Document 266 Filed 01/31/24 Page 6 of 9
                                                                                    Page 6 of 9




defendants’ obligation—now acknowledged in the response to this motion—to

comply with the declaratory judgment while it remains in effect.

         If, other than in this litigation, the defendants have told any patient, health

plan, or provider that waivers may be available, the record does not reflect it. If,

other than in response to this motion, the defendants have acknowledged their

obligation to comply with the declaratory judgment while it remains in effect, the

record does not reflect it.

         One might well conclude the defendants’ approach, if not contumacious, is

at least too clever by half. If no appeal was pending, further relief might well be

warranted. But three considerations counsel against entry of an order at this time

enforcing, modifying, or clarifying the judgment.

         First, the defendants are complying with the injunction as it applies to the

plaintiffs. This is not a class action. The trial is over, and judgment has been

entered. It is too late for nonparties—including other, similarly situated Medicaid

beneficiaries—to assert claims in this action. If the defendants have improperly

denied other beneficiaries’ claims, they may be able to obtain relief on their own

behalf in an appropriate forum, and the judgment in this action may be binding on

the defendants in that forum.

         Second, the judgment is on appeal. Modifying or clarifying a judgment that

is on appeal is usually beyond a district court’s jurisdiction and always



Case No. 4:22cv325-RH-MAF
        Case 4:22-cv-00325-RH-MAF Document 266 Filed 01/31/24 Page 7 of 9
                                                                              Page 7 of 9




problematic. A district court can enforce a judgment while an appeal is pending,

unless a stay has been entered, but this does not mean a district court can modify or

clarify the judgment in the course of enforcing it. Here the defendants are

complying with the judgment as to the plaintiffs themselves. The dispute turns on

whether the defendants’ reliance on the waiver statute contravenes the declaratory

judgment—an issue on which a modification or clarification, while the appeal is

pending, would be problematic.

         Third, in Eknes-Tucker v. Governor of Alabama, 80 F.4th 1205 (11th Cir.

2023), the Eleventh Circuit reversed a preliminary injunction barring enforcement

of an Alabama statute prohibiting these same kinds of treatment. The record here is

much more complete than the record there, and issues have been raised and

decided here that were not raised or decided there. There, the Eleventh Circuit has

stayed the preliminary injunction, but a petition for rehearing en banc remains

pending, and the mandate has not issued. While I remain convinced that the

judgment in the case at bar was and is correct, Eknes-Tucker would properly be

considered on any motion to stay the judgment in the case at bar while the appeal

goes forward. Eknes-Tucker would also properly be considered before extending

the injunction to, or enforcing the judgment in favor of, other Medicaid

beneficiaries.




Case No. 4:22cv325-RH-MAF
        Case 4:22-cv-00325-RH-MAF Document 266 Filed 01/31/24 Page 8 of 9
                                                                                    Page 8 of 9




         For these reasons, this order denies without prejudice the motion to enforce

or clarify the judgment. The order also does not modify the judgment. The order

makes no ruling on whether the defendants’ approach is consistent with the

declaratory judgment. The order makes no ruling on whether, at an appropriate

time, the plaintiffs will be able to obtain appropriate relief for any violation of the

judgment that has occurred. This order simply does not resolve those issues at this

time.

         This order does, however, note one citation issue. SB 254, the bill that

adopted the statutory ban on Medicaid payment for puberty blockers and cross-sex

hormones for transgender patients, referred to the provision as Florida Statutes

§ 286.31(2). See S.B. 254 (as passed by Fla. 2023 Legislature, May 4, 2023); see

also Laws of Fla., ch. 2023-90, § 3, available at <http://laws.flrules.org/2023/90>.

The parties’ filings and the court’s orders cite the provision that way. But this

apparently was the second of two new provisions the Legislature adopted with that

same number. The second provision—the one at issue here—has now been

codified as § 286.311(2). This apparently was done after entry of the judgment as

part of the routine process conducted by the Florida Reviser of Statutes. See Table

of Section Changes by 2023 Legislative Session C-1 & C-3, available at

<https://www.flsenate.gov/PublishedContent/Laws/Statutes/Links/Table%20of%2

0Section%20Changes%20(2023).pdf>.



Case No. 4:22cv325-RH-MAF
        Case 4:22-cv-00325-RH-MAF Document 266 Filed 01/31/24 Page 9 of 9
                                                                                 Page 9 of 9




         IT IS ORDERED:

         The motion, ECF No. 258, to enforce or clarify the judgment is denied

without prejudice.

         SO ORDERED on January 31, 2024.

                                        s/Robert L. Hinkle
                                        United States District Judge




Case No. 4:22cv325-RH-MAF
